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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    STATE OF FLORIDA,

          Plaintiff,

    v.                                            CASE NO. 8:21-cv-2524-SDM-TGW

    BILL NELSON, et al.,

          Defendants.
    ___________________________________/


                                          ORDER

          A January 19, 2022 order (Doc. 44) stays this action pending resolution of the

    defendants’ appeal of a preliminary injunction. Although the defendants voluntarily

    dismiss (Doc. 46) the appeal, the parties jointly move (Doc. 47) to maintain the stay

    pending “possible changes to [Executive Order] 14042’s implementation.” The joint

    motion is GRANTED. This action remains STAYED. Not later than MARCH 31,

    2023, the parties must report the status of the action and propose a day on which to

    dissolve the stay.

          ORDERED in Tampa, Florida, on November 9, 2022.
